Case 2:04-cr-20140-.]PI\/| Document 205 Filed 07/22/05 Page 1 of 3 Page|D 279

 

IN THE UNITED sTATEs DISTRICT coURT paso mail D-G-
FOR THE wEsTERN DISTRICT op TENNESSEE 05
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CLEH<US Us.f.}rs`r§cr

UNITED sTATEs oF AMERICA W@T hH.§MHW
Plaintiff,

@;|R\Q/FC~P\-\&ii \G:Lt`~f

A§/JMMMMW

Criminal No.O_j- 6)\0/ 90 Ml

(90-Day Continuance)

 

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CON'I'INUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the August,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28. 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 22nd day of July, 2005.

ThIs document entered on the docket Sr?eet |n compl€anca
with Ru|e 5 andfor 32( (b) FHCrP on ’

 

Case 2:04-cr-20140-.]PI\/| Document 205 Filed 07/22/05 Page 2 of 3 Page|D 280

so oRDERED this 22nci day of July, 2005.

mc O§Q

JO PHIPPS MCCALLA
TED S'I'ATES DISTR.ICT JUDGE

{"37/ 1`?. #\R\m~/
‘/j /Q'//F`/

As§i§b€nt United States Attorney

j .,

 

 

 

 

Counsel for Defendant(s)

     

UNITED `SATES DISTRICT COURT - WESTERN D's'TRCT OFTENNESSEE

thice of Distribution

This notice confirms a copy of the document docketed as number 205 in
case 2:04-CR-20140 Was distributed by faX, mail, cr direct printing on
July 25, 2005 to the parties listed.

 

 

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chorable Jcn McCalla
US DISTRICT COURT

